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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

vs.                                             CASE NO. 4:10-cr-22-SPM/WCS-2

CECIL RAY GANT,

       Defendant.
                                        /


              ORDER ADOPTING REPORT AND RECOMMENDATION

       Pursuant to the Report and Recommendation (doc. 33) of the United States

Magistrate Judge, to which there have been no timely objections, the plea of guilty of

the Defendant, CECIL RAY GANT, to Counts One, Two, Three, and Six of the

Indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

       DONE AND ORDERED this twenty-eighth day of June, 2010.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  Chief United States District Judge
